Case 8:22-cv-02402-VMC-TGW Document147 _ Filed 01/30/25 Page 1 of 1 PagelD 1723

>RNLACTI re =,
<p WSS ord ONS

KE. VE 3O\ S\N VAD -Geoe
e APRON wes So FD ONS ae]

“phe N YD SNVNAIAD SN WWOYR
SO, of AIAN OANK “ox en O'S. PINYIN I OW
\. OF SNP > MAS PK 9° XS WAAOYO IDO

ere suk NSIS “Fg By? o\ AQ MACE SMO XL

9 YF\ AS aavo oy}
Bord =e SIMA Ys aE ah fo wc, a <0.

as See, \ NX. spews eons

aemitnng Ag sgg MERE

ASBLA \VEE * 3 °e 9 D m9) STENT >)
VBL ALBIS My @ PN
, SONS % SC \ 5, = ra xP 1 NAS OVX
AP_YEMOARAQHEY SPEEA
2 + JAA- CORED -93-€V 7B, QED
a re M\ *K BYORI waA\ay LS

HO \OY D Lh DEST
JET CAEN ANA VQ RILL ASE BPRS LOTT
| LOSES i= mS SWS AY LQ
pn Vey CSR TeESeny, “oN NA AEYICN § 2 CRON

CIEL PSO AI IW \ fa Y VEAL
PC C \ 9 Sy FSS ~O SBRAQRICR XQ) FANS D)
YS PANS SEY RRP S&H

(SHOWS ay" W\ YOM oh AVS ON ON - oO
GEQE VY GS b\ 20 A'S CQ
